Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 1 of 8 PageID: 311



 HERMAN JONES LLP
 SERINA M. VASH
 153 Central Avenue #131
 Westfield, NJ 07090
 svash@hermanjones.com
 Telephone: (404) 504-6516
 Facsimile: (404) 504-6501
 [Additional Counsel on Signature Page]
 Attorneys for Plaintiffs

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  IN RE JOHNSON & JOHNSON                 Lead Case No. 3:19-cv-18874-FLW-
  TALC STOCKHOLDER                        LHG
  DERIVATIVE LITIGATION
                                          (Consolidated with Cases No. 3:19-
                                          cv-19005-FLW-LHG, No. 3:19-cv-
                                          20984-FLW-LHG, and No. 3:20-cv-
                                          00774-FLW-TJB)

  This Document Relates To:               STIPULATION AND
                                          SCHEDULING ORDER
     ALL ACTIONS.
Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 2 of 8 PageID: 312




       WHEREAS, on October 10, 2019, plaintiff Tracy Bynum filed a Verified

 Stockholder Derivative Complaint for Breach of Fiduciary Duty and Unjust

 Enrichment against defendants Alex Gorsky, Carol Goodrich, Michael E. Sneed,

 Anne M. Mulcahy, Charles Prince, William D. Perez, Ian E. L. Davis, Ronald A.

 Williams, A. Eugene Washington, Mark B. McClellan, D. Scott Davis, Mary C.

 Beckerle, Joan Casalvieri, and Tara Glasgow (collectively, the "Individual

 Defendants"), and nominal defendant Johnson & Johnson ("J&J" or the "Company")

 (collectively with the Individual Defendants, "Defendants");

       WHEREAS, on October 15, 2019, plaintiff Christopher Leagre filed a

 Verified Stockholder Derivative Complaint for Breach of Fiduciary Duty and Unjust

 Enrichment against Defendants;

       WHEREAS, on December 3, 2019, plaintiff Sandra Wollman filed a Verified

 Stockholder Derivative Complaint against Defendants and Jennifer A. Doudna;

       WHEREAS, on January 23, 2020, plaintiff Steven Hill filed a Shareholder

 Derivative Complaint against Defendants;1

       WHEREAS, on February 28, 2020, the Court consolidated the four related

 stockholder derivative actions filed by Plaintiffs and appointed co-lead, liaison, and

 executive committee counsel (ECF No. 29);


 1
  Plaintiffs Tracy Bynum, Christopher Leagre, Sandra Wollman, and Steven Hill are
 referred to herein as "Plaintiffs."


                                          -1-
Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 3 of 8 PageID: 313




       WHEREAS, on May 29, 2020, the Court entered a Stipulation and Scheduling

 Order (ECF No. 33) setting a deadline of August 26, 2020 for Plaintiffs to file a

 consolidated complaint or designate an operative complaint;

       WHEREAS, subsequent to the entry of the May 29, 2020 Stipulation and

 Scheduling Order, on July 30, 2020, J&J produced to Plaintiffs a 351-page report

 and 62 pages of appendices prepared by the law firm Gibson, Dunn & Crutcher LLP,

 which the J&J Board of Directors retained to investigate, among other things, the

 allegations in Plaintiffs’ previously-filed complaints (the "Gibson Dunn Report");2

       WHEREAS, on August 26, 2020, the Court entered a Stipulation and

 Scheduling Order (the "Order") (ECF No. 36), extending the deadline for Plaintiffs

 to file either a notice of voluntary dismissal or a consolidated complaint to October

 13, 2020; setting a deadline for Defendants to answer, move, or otherwise respond

 to the consolidated complaint by December 4, 2020; and setting a briefing schedule

 for Plaintiffs to oppose any motion(s) filed by Defendants by January 18, 2021, and

 for Defendants to file any reply by February 15, 2021;



 2
   The Gibson Dunn Report summarizes the investigation, which included interviews
 of 45 witnesses and the receipt of several hundred thousand documents, among other
 things, and includes 138 pages of facts determined by the investigation relating to
 background on J&J, J&J's internal controls regarding consumer medical safety and
 product quality, financial reporting and disclosure processes and controls, and facts
 relating to the Company's talc product sales; a 143-page analysis of Plaintiffs' factual
 allegations, and dozens of pages of legal analysis.


                                           -2-
Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 4 of 8 PageID: 314




        WHEREAS, Plaintiffs intend to pursue specified and limited discovery

 relating to the independence, reasonableness, and good faith of the investigation of

 and the Board's response to Plaintiffs' demands pursuant to N.J.S.A. §14A:3-

 6.5(5)(c)3;

        WHEREAS, Plaintiffs reached out to Defendants regarding a possible

 agreement with respect to specified and limited discovery and scheduling related

 thereto;

        WHEREAS, Defendants take the position that no discovery is appropriate on

 this record and reserve all rights to oppose any motion for discovery filed by the

 Plaintiffs;

        WHEREAS, subject to the parties' respective reservations of rights outlined

 herein, the parties agree, subject to order of the Court, to a short extension of time

 for Plaintiffs to file their consolidated complaint, which the parties submit is in

 furtherance of the interests of efficiency, is not for the purpose of delay, and will not

 cause prejudice to any of the parties:




 3N.J.S.A. §14A:3-6.5(5)(c) provides in pertinent part that "the court, on motion and
 after a hearing, may order that specified and limited discovery be conducted if
 plaintiffs make a good cause showing of alleged facts which evidence a lack of
 independence by the person or group making the determination for the corporation
 or a lack of a good faith determination."



                                           -3-
Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 5 of 8 PageID: 315




       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and

 between the parties, through their counsel and subject to Court approval, as follows:

       1.     Subject to the Court's approval, the current October 13, 2020 deadline

 for Plaintiffs to file their amended complaint shall be vacated;

       2.     Plaintiffs shall have until October 30, 2020 to file a consolidated

 complaint, which will supersede all existing complaints filed in the related actions

 and any other action that may be consolidated herewith;

       3.     Nominal defendant and defendants shall have until January 8, 2021 to

 answer, move, or otherwise respond to the consolidated complaint;

       4.     Plaintiffs shall have until February 8, 2021 to oppose any motion(s)

 filed by nominal defendant and/or defendants;

       5.     Nominal defendant and defendants shall have until March 8, 2021 to

 reply; and

       6.     Plaintiffs reserve all rights to file a motion seeking an order compelling

 the specified and limited discovery to which Plaintiffs submit and will submit they

 are entitled at this stage and on this record pursuant to N.J.S.A. §14A:3-6.5(5)(c),

 and defendants reserve all rights to oppose any such motion.

  Dated: October 9, 2020                    Respectfully submitted,
                                            HERMAN JONES LLP

                                            Serina M. Vash
                                            SERINA M. VASH
                                            (NJ Bar. No. 041142009)

                                          -4-
Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 6 of 8 PageID: 316



                                       153 Central Avenue #131
                                       Westfield, NJ 07090
                                       Telephone: (404) 504-6516
                                       Facsimile: (404) 504-6501
                                       svash@hermanjones.com
                                       Liaison Counsel for Plaintiffs
                                       ROBBINS LLP
                                       BRIAN J. ROBBINS
                                       CRAIG W. SMITH
                                       SHANE P. SANDERS
                                       5040 Shoreham Place
                                       San Diego, CA 92122
                                       Telephone: (619) 525-3990
                                       Facsimile: (619) 525-3991
                                       brobbins@robbinsllp.com
                                       csmith@robbinsllp.com
                                       ssanders@robbinsllp.com
                                       BRAGAR EAGEL & SQUIRE, P.C.
                                       LAWRENCE P. EAGEL
                                       (NJ Bar. No. 038881983)
                                       DAVID J. STONE
                                       W. SCOTT HOLLEMAN
                                       MELISSA A. FORTUNATO
                                       (N.J. Bar No. 071502013)
                                       885 Third Avenue, Suite 3040
                                       New York, NY 10022
                                       Telephone: (212) 308-5858
                                       Facsimile: (212) 486-0462
                                       eagel@bespc.com
                                       stone@bespc.com
                                       holleman@bespc.com
                                       fotunato@bespc.com
                                       Co-Lead Counsel for Plaintiffs
  Dated: October 9, 2020               ROBINSON MILLER LLC

                                       s/ Keith J. Miller
                                       KEITH J. MILLER
                                       (NJ Bar. No. 041142009)
                                       Ironside Newark
                                       110 Edison Place, Suite 302
                                       Newark, NJ 07102
                                       kmiller@rwmlegal.com
                                       Telephone: (973) 690-5400
                                       Facsimile: (973) 466-2760


                                     -5-
Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 7 of 8 PageID: 317




                                       SIDLEY AUSTIN LLP
                                       WALTER C. CARLSON
                                       KRISTEN R. SEEGER
                                       CHRISTOPHER Y. LEE
                                       A. MICHAELA KABAT
                                       One South Dearborn
                                       Chicago, IL 60603
                                       wcarlson@sidley.com
                                       kseeger@sidley.com
                                       chris.lee@sidley.com
                                       mkabat@sidley.com
                                       Telephone: (312) 853-7000
                                       Facsimile: (312) 853-7036

                                       Counsel for Nominal Defendant
                                       Johnson & Johnson

  Dated: October 9, 2020               RIKER, DANZIG, SCHERER,
                                       HYLAND & PERRETTI LLP

                                       s/ Edwin F. Chociey, Jr.
                                       EDWIN F. CHOCIEY, JR.
                                       One Speedwell Avenue
                                       Morristown, NJ, 07962-1981
                                       Telephone: (973) 538-0800
                                       Facsimile: (973) 538-1984
                                       echociey@riker.com

                                       ERIK HAAS
                                       JOSHUA A. GOLDBERG
                                       D. BRANDON TRICE
                                       PATTERSON BELKNAP WEBB &
                                       TYLER LLP
                                       1133 Avenue of the Americas
                                       New York, NY 10036
                                       Telephone: (212) 336-2000
                                       Facsimile: (212) 336-2222
                                       ehaas@pbwt.com
                                       jgoldberg@pbwt.com
                                       dbtrice@pbwt.com

                                     -6-
Case 3:19-cv-18874-FLW-LHG Document 38-1 Filed 10/09/20 Page 8 of 8 PageID: 318




                                       Counsel for Individual Defendants Alex
                                       Gorsky, Carol Goodrich, Michael E.
                                       Sneed, Anne M. Mulcahy, Charles
                                       Prince, William D. Perez, Ian E. L.
                                       Davis, Ronald A. Williams, A. Eugene
                                       Washington, Mark B. McClellan, D.
                                       Scott Davis, Mary C. Beckerle, and
                                       Joan Casalvieri

 IT IS SO ORDERED.


                                        HONORABLE FREDA L. WOLFSON
                                        UNITED STATES DISTRICT JUDGE


 1487043




                                     -7-
 ACTIVE 262039464
